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                                                          UvS. DIST{?fCT COORT
                                                               AL^rJSTA ®IV.
           IN THE UNITED STATES DISTRICT COURT FOR THE
                  SOUTHERN DISTRICT OF GEORGIA
                                                         2fll6JUN23 PM
                         AUGUSTA DIVISION


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                                                              50.y)IST. 0F GA.
UNITED STATES OF AMERICA



     vs.                                CR 106-028




JEREMIAH LANE




                             ORDER




     Defendant Jeremiah Lane's motion for reconsideration of

this Court's Order denying as moot his motion to withdraw a

previously filed motion (doc. no. 71) is hereby D^IED.
     ORDER ENTERED at Augusta, Georgia, this             ay of June,

2016.




                                     UNITED STAT
